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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                        CASE NO.: 1:21-CV-21079-BLOOM/Otazo-Reyes

  SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,

  v.

  MINTBROKER INTERNATIONAL, LTD.,
  f/k/a SWISS AMERICA SECURITIES LTD.
  and d/b/a SURETRADER, and
  GUY GENTILE, a/k/a GUY GENTILE NIGRO,

        Defendants.
  ___________________________________________/

   PLAINTIFF’S MOTION TO STRIKE GUY GENTILE’S MOTION FOR SANCTIONS
   FOR SPOLIATION OF EVIDENCE UNDER RULE 37(e) AND FOR SANCTIONS FOR
     FAILURE TO MEET AND CONFER AS REQUIRED BY S.D. FLA. L.R. 7.1(a)(3)

         Plaintiff Securities and Exchange Commission, pursuant to S.D. Fla. L.R. 7.1(a)(3), files

  its Motion to Strike Guy Gentile’s Motion for Sanctions for Spoliation of Evidence Under Rule

  37(e), ECF No. [173], and for Sanctions for Failure to Meet and Confer as Required by S.D. Fla.

  L.R. 7.1(a)(3), for the reasons that follow:

                                      I.         INTRODUCTION

         In yet another shotgun attempt to smear the name of a non-party witness and the SEC,

  Gentile filed another motion for sanctions without even attempting to meet and confer with the

  SEC as required by S.D. Fla. L.R. 7.1(a)(3). Had Gentile’s counsel actually attempted to meet and

  confer with the SEC, they would have learned that the emails in question – in possession of former

  SureTrader employee, Philip Dorsett – do in fact still exist and were not destroyed as Gentile

  incorrectly claims. Even worse, the “Certificate of Compliance” in Gentile’s Motion for Sanctions

  for Spoliation of Evidence Under Rule 37(e) (“Motion for Sanctions”) demonstrates on its face
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  that Gentile’s counsel understood their obligation to meet and confer under Local Rule 7.1(a)(3)

  yet blatantly chose not to comply. Gentile’s Motion for Sanctions is replete with inaccuracies and

  assumptions and is nothing more than an obvious attempt to make specious arguments and

  inflammatory accusations against a former employee. Gentile tellingly has exploited the fact that

  he filed the Motion for Sanctions and used it to fuel a vengeful article in a newspaper in the

  Bahamas, where Mr. Dorsett lives, potentially threatening Mr. Dorsett’s livelihood. Gentile’s

  sharp litigation tactics should not be condoned. Instead of expending the Court’s resources to

  review and requiring the SEC to substantively respond to the premature and baseless arguments in

  Gentile’s Motion for Sanctions, it should be stricken, and sanctions should be entered against

  Gentile and/or his counsel for failure to comply with Local Rule 7.1(a)(3).

                                       II.    BACKGROUND

         1.      On June 3, 2022, Gentile filed a Motion for Sanctions, ECF No. [86], which was

  denied by the Court, ECF No. [106]. In his original Motion for Sanctions, Gentile argued that the

  SEC improperly received SureTrader records from former SureTrader employees and sought a

  sanction of dismissal. Notably, the June 3, 2022 Motion for Sanctions does not contain a Local

  Rule 7.1(a)(3) certification that Gentile’s counsel met and conferred with the SEC regarding the

  relief sought. As noted in the SEC’s Response to the June 3rd Motion for Sanctions, ECF No. [89],

  the SEC requested to meet and confer regarding how to handle a potential privilege review of

  SureTrader records in possession of former employees, and instead of responding to the issues

  raised during that conferral, Gentile filed his prior Motion for Sanctions.

         2.      On February 27 and 28, 2023, non-party witness and former employee of Defendant

  SureTrader who resides in the Bahamas, Philip Dorsett, was deposed.




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         3.      On March 21, 2023 – three weeks after Mr. Dorsett’s deposition – Gentile filed a

  Motion for Sanctions improperly and incorrectly alleging that Mr. Dorsett spoliated evidence.

  ECF No. [173].

         4.      In addition to containing numerous inaccuracies about Mr. Dorsett, his testimony,

  and the evidence in this case, Gentile weaponized the Motion for Sanctions in order to intimidate

  Mr. Dorsett. Two days after Gentile filed his Motion for Sanctions, an article appeared in Tribune

  242, self-described as “The Bahamas’ leading daily newspaper,” wherein Gentile was quoted and

  the Motion for Sanctions was extensively parroted.1

         5.      During the three weeks between Mr. Dorsett’s deposition and the filing of the

  Motion for Sanctions, Gentile’s counsel never reached out to SEC counsel to request to meet and

  confer about any purported spoliation of evidence, Gentile filing a motion for sanctions, or Gentile

  seeking dismissal as a sanction.

         6.      Further compounding Gentile’s counsel’s failure to even attempt to meet and

  confer, they mischaracterize other events as them trying “to resolve the issues raised in the motion”

  and being “unable to do so” and try to shift the blame to the witness residing in the Bahamas.

  Gentile’s deficient “Certification of Compliance” section states:

         Pursuant to Local Rule 7.1(a)(3), counsel for Gentile certifies that they sought to
         resolve the issues raised in the motion and have been unable to do so. Counsel for
         Gentile asked Dorsett under oath at his deposition on February 28, 2023, whether
         he was able to recover the ESI he spoliated and he indicated he could not. Counsel
         for Gentile stated their intention on the record to hold open the witness’s deposition
         after the spoliation became evident, but the SEC objected and indicated that it
         would make its position known to the Court. Dorsett resides in the Bahamas and
         counsel for Gentile has no practical ability to compel the witness’s further
         deposition testimony or further production of documents from the witness within
         the current discovery schedule.



  1
     http://www.tribune242.com/news/2023/mar/23/bahamian-whistleblower-accused-fabrication/.
  (Last accessed on March 28, 2023.)
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         7.       After Gentile filed his Motion for Sanctions, undersigned counsel contacted Mr.

  Dorsett to inquire whether he still possessed the SureTrader emails (involving counsel for

  SureTrader) purportedly at issue.2 After searching his emails, which he had saved on a desktop

  computer in approximately April 2022, Mr. Dorsett confirmed that the subject SureTrader emails

  still exist. Thus, no spoliation issue exists. Had Gentile’s counsel even attempted to comply with

  S.D. Fla. L.R. 7.1(a)(3) before filing the Motion for Sanctions, they would have learned that the

  basis for the Motion for Sanctions does not exist.

         8.      On March 23, 2023, undersigned counsel emailed Gentile’s counsel to explain that

  the emails in question are still in Mr. Dorsett’s possession and to request a meet and confer to

  address Gentile’s counsel’s failure to comply with S.D. Fla. L.R. 7.1(a)(3), including the SEC’s

  request that Gentile withdraw his Motion for Sanctions to spare the SEC from having to file this

  motion to strike same and for sanctions.

         9.      On March 24, 2023, undersigned counsel met with Gentile’s counsel by video

  conference to address: (1) Gentile’s counsel’s failure to meet and confer prior to filing the Motion



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    The Court addressed SureTrader emails in Mr. Dorsett’s possession during the January 9, 2023,
  discovery hearing before Judge Otazo-Reyes. The Court ruled in the SEC’s favor that, among
  other things, the approximately 11,000 SureTrader emails the SEC had previously received (but
  had not reviewed) in April 2022 from Mr. Dorsett could now be reviewed by the SEC and
  transmitted to the Joint Official Liquidators in the Bahamas. See ECF No. [157].

  At the time Mr. Dorsett transmitted the emails to the SEC in April 2022, Gentile had objected to
  the overall production of SureTrader emails to the SEC in possession of former employees and
  specifically to the SEC receiving potentially attorney-client privileged communications between
  Mr. Dorsett – as Chief Compliance Officer of SureTrader – and SureTrader’s counsel. In an
  abundance of caution pending the parties’ conferral on how to handle the production, including a
  potential privilege review, the SEC asked Mr. Dorsett not to transmit any emails involving
  SureTrader’s counsel to the SEC. Mr. Dorsett searched for such emails, segregated same, and
  transmitted the balance to the SEC. Ultimately, the Court ruled that Gentile does not have standing
  to object to the production based on any privilege held by SureTrader, the company, and the SEC
  could proceed to review the emails from former SureTrader employees, including the ones Mr.
  Dorsett transmitted to the SEC in April 2022.
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  for Sanctions; (2) the fact that Mr. Dorsett still is in possession of the emails with SureTrader’s

  counsel and has transmitted them to the SEC; (3) the SEC’s request that Gentile withdraw his

  Motion for Sanctions because of the failure to comply with Local Rule 7.1(a)(3); and (4) the SEC

  seeking to strike the Motion for Sanctions and entry of sanctions pursuant to Local Rule 7.1(a)(3)

  for said failure to comply if Gentile did not agree to withdraw the Motion for Sanctions.

         10.     During the conferral requested by the SEC, Gentile’s counsel admitted that they did

  not in fact meet and confer regarding the Motion for Sanctions and provided three reasons why

  they were not required to do so under Local Rule 7.1(a)(3): (1) because they are seeking dismissal,

  the rule does not require a conferral; (2) during a prior hearing with the Magistrate, she said that

  counsel could “refile” a motion for sanctions; and (3) the parties had already repeatedly met and

  conferred. As shown below, these reasons are both legally and factually incorrect.

         11.     During this same call, Gentile’s counsel asked if the SEC would agree to the relief

  sought in the Motion for Sanctions (a belated and futile attempt to meet and confer after it had

  been filed), but Gentile’s counsel advised that they would not withdraw the Motion for Sanctions.

  The SEC offered to send the emails in question from Mr. Dorsett, and Gentile’s counsel said they

  would consider withdrawing the Motion for Sanctions after receiving and reviewing them – again,

  a belated attempt to cure their failure to meet and confer.

         12.     On March 27, 2023, the SEC transmitted the emails in question from Mr. Dorsett

  to Gentile’s counsel.

                                III.    MEMORANDUM OF LAW

         Southern District of Florida Local Rule 7.1(a)(3) provides as follows:

         Pre-filing Conferences Required of Counsel. Prior to filing any motion in a civil
         case, except a motion for injunctive relief, for judgment on the pleadings, for
         summary judgment, to dismiss or to permit maintenance of a class action, to dismiss
         for failure to state a claim upon which relief can be granted, for pro hac vice

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          admission, or to involuntarily dismiss an action, for garnishment or other relief
          under Federal Rule of Civil Procedure 64, or otherwise properly filed ex parte under
          the Federal Rules of Civil Procedure and these Local Rules, or a petition to enforce
          23 or vacate an arbitration award, counsel for the movant shall confer (orally or in
          writing), or make reasonable effort to confer (orally or in writing), with all parties
          or non-parties who may be affected by the relief sought in the motion in a good
          faith effort to resolve by agreement the issues to be raised in the motion. Counsel
          conferring with movant’s counsel shall cooperate and act in good faith in
          attempting to resolve the dispute. At the end of the motion, and above the signature
          block, counsel for the moving party shall certify either: (A) that counsel for the
          movant has conferred with all parties or non-parties who may be affected by the
          relief sought in the motion in a good faith effort to resolve the issues raised in the
          motion and has been unable to do so; or (B) that counsel for the movant has made
          reasonable efforts to confer with all parties or non-parties who may be affected by
          the relief sought in the motion, which efforts shall be identified with specificity in
          the statement (including the date, time, and manner of each effort), but has been
          unable to do so. If certain of the issues have been resolved by agreement, the
          certification shall specify the issues so resolved and the issues remaining
          unresolved. Failure to comply with the requirements of this Local Rule may be
          cause for the Court to grant or deny the motion and impose on counsel an
          appropriate sanction, which may include an order to pay the amount of the
          reasonable expenses incurred because of the violation, including a reasonable
          attorney’s fee. See forms available on the Court’s website (www.flsd.uscourts.gov).

  S.D. Fla. L.R. 7.1(a)(3) (emphasis added).

          When a party has failed to confer as required by Local Rule 7.1(a)(3), a court may strike

  the motion. United States v. Twenty-Nine Pre-Columbian & Colonial Artifacts from Peru, Case

  No.: 13-21697-CIV-LENARD/GOODMAN, 2014 WL 4655737, at *3 n.4 (S.D. Fla. Sept. 17,

  2014) (noting that the court had previously struck an earlier motion . . . for failing to confer and

  failing to file a certificate of conferral and denying the plaintiff's motion for failing to contact and

  confer with opposing counsel prior to filing the motion). Local Rule 7.1(a)(3) is “a critical Rule

  that promotes efficient litigation,” and when followed, the responding party and the court can be

  “spared from taking the time to respond to a motion that has no obvious legal support.” Burleigh

  House Condo, Inc. v. Rockhill Ins. Co., Case No.: 21-22911-CIV-SCOLA/GOODMAN, 2022 WL

  17082909 at *5 (S.D. Fla. Nov. 18, 2022) (quoting Coconut Key Homeowners Ass'n v. Lexington



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  Inc. Co., 649 F. Supp. 2d 1363, 1372 n.3 (S.D. Fla. 2009)). In order to not expend the Court’s

  resources to consider and rule on Gentile’s improperly filed Motion for Sanctions, the SEC

  requests that the Court strike his filing.3

          Although there are limited exceptions to when a meet and confer is required under Local

  Rule 7.1(a)(3), a motion for sanctions pursuant to Rule 37 – even one that seeks dismissal as a

  sanction – is not one of them. Pre-Columbian & Colonial Artifacts from Peru, 2014 WL 4655737,

  at *2 (finding that a “motion to dismiss” and for discovery sanctions made pursuant to Rule 37 is

  not one of the exceptions to Rule 7.1(a)(3) and that a conferral was required). “A movant cannot

  avoid the Local Rule 7.1 conferral requirement simply by styling its motion as if it were one of

  those specifically enumerated exceptions to the mandatory pre-filing conferral rule. The mere fact

  that Government counsel decided to pursue only the most-severe discovery sanctions remedy

  available, dismissal, does not transform the motion from a discovery motion (which requires a pre-

  filing conferral) to a motion to dismiss (which does not).” Id.

          It is undisputed that Gentile failed to meet and confer prior to filing his Motion for

  Sanctions, and this is not the first time Gentile has failed to comply with Local Rule 7.1(a)(3) in

  filing a motion. Gentile’s previous Motion for Sanctions, ECF No. [86] was devoid of any




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    Even if the Court were to consider Gentile’s Motion for Sanctions on the merits, it should
  nonetheless be summarily denied for failure to comply with the conferral requirement in Local
  Rule 7.1(a)(3). See, e.g., Villafana v. Our Children’s Planet Corp., Case No.: 15-23432-CIV-
  SCOLA/OTAZO-REYES, 2016 U.S. Dist. LEXIS 170701 at *3-4 (S.D. Fla. Dec. 8, 2016)(report
  and recommendation recommending denial of motion for noncompliance with Local Rule
  7.1(a)(3)), report and recommendation adopted, Case No.: 15-23432-CIV-SCOLA/OTAZO-
  REYES, ECF No. [77] (“Courts should not ignore ‘clear-cut violations of the local rule because it
  will send an improper and unfortunate message: that lawyers can violate the local rules with
  impunity and not worry . . . about adverse consequences.’”); Circuitronix v. Kapoor, Case No.
  15-cv-61446-BLOOM/Valle, 2016 WL 8710148 at *6 (refusing to consider potion of movant’s
  motion where there was a failure to comply with the conferral requirements under Local Rule
  7.1(a)(3)).
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  certification of a conferral required under Local Rule 7.1(a)(3). Gentile’s current Motion for

  Sanctions – despite feigning compliance with Local Rule 7.1(a)(3) by including a “Certificate of

  Compliance” at the end of the Motion – contains a demonstrably false certification. On its face,

  there is no mention of Gentile’s counsel advising the SEC that they (1) believe there is a spoliation

  issue, (2) plan to file a motion for sanctions, or (3) would seek dismissal as a sanction.

  Conspicuously absent is Gentile’s counsel certifying that they discussed the foregoing with the

  SEC and whether the SEC objects to such relief.

         During the meet and confer on the SEC’s Motion to Strike and for Entry of Sanctions,

  Gentile’s counsel provided three reasons – albeit legally and factually incorrect – for why a

  conferral was not required under Local Rule 7.1.(a)(3) before filing Gentile’s Motion for

  Sanctions. First, their claim that there is an exception for motions seeking dismissal misinterprets

  Local Rule 7.1(a)(3). Gentile seeks entry of sanctions pursuant to Rule 37, which is not excepted

  from the Rule. Colonial Artifacts from Peru, 2014 WL 4655737, at *2. Second, Gentile’s Motion

  for Sanctions relies on a different basis for sanctions than the one previously filed, ECF No. [86],

  so it is not a “refiling” and, regardless of whether it is a second motion for sanctions, a conferral

  under the Rule is still required. Third, prior conferrals on different discovery issues related to the

  production of emails from former SureTrader employees, none of which involved a purported

  spoliation of evidence, do not satisfy the Rule’s conferral requirement.

         Moreover, the instant situation is a textbook example of why parties are required to meet

  and confer prior to filing a motion. Had Gentile’s counsel actually attempted to meet and confer

  in good faith on his current Motion for Sanctions, they would have learned that the purportedly

  spoliated evidence still exists. At a minimum, had a conferral occurred, the SEC would have had

  the opportunity to do what it did after the Motion for Sanctions was filed, which is to reach out to



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  Mr. Dorsett to inquire about the purportedly spoliated evidence.     Gentile and his counsel would

  have then had an opportunity to review the subject emails that do exist and further met and

  conferred with the SEC before filing any motion, for sanctions or otherwise.        Mr. Dorsett has

  provided the purportedly spoliated emails to the SEC, which in turn was produced to Gentile’s

  counsel on March 27, 2023. As of the filing of this Motion to Strike and for Sanctions, Gentile

  has not withdrawn his Motion for Sanctions.

         Indeed, the Motion goes beyond its false claims of spoliation to gratuitously accuse Mr.

  Dorsett with perjury and breaches of Bahamian law – neither which are a basis for relief under

  Rule 37. It is clear that the Motion for Sanctions was filed was to intimidate a witness in this case

  and to allow Gentile to cite the Motion for Sanctions to the press where he can make any untruthful

  statement without repercussion. Gentile is not concerned that he filed a motion that is false or not

  grounded in a good faith basis under Rule 37. Gentile’s repeated failure to comply with Local

  Rule 7.1(a)(3) demonstrates a clear disregard for this Court’s Local Rules. As such, it is proper

  for the Court to strike the Motion for Sanctions and impose on Gentile and/or his counsel an

  “appropriate sanction, which may include an order to pay the amount of the reasonable expenses

  incurred because of the violation, including a reasonable attorney’s fee.” S.D. Fla. L.R. 7.1(a)(3).

                                  CERTIFICATE OF CONFERRAL

         Pursuant to Southern District of Florida Local Rule 7.1(a)(3), undersigned counsel

  conferred with counsel for Gentile and they oppose the relief sought in this Motion, which is

  explained in paragraphs 8-11.




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   March 29, 2023                        Respectfully submitted,


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